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                                                         U.S. Department of Justice

                                                         Matthew M. Graves
                                                         United States Attorney

                                                         District of Columbia


                                                         Patrick Henry Building
                                                         601 D Street, N.W.
                                                         Washington, D.C. 20530




                                                         August 10, 2022

Shelli Peterson
First Assistant Federal Public Defender
Transmitted via Email: Shelli_Peterson@fd.org

                       Re:     United States v. Martin Kao, 22-cr-48 (CJN)


Dear Ms. Peterson:

         This letter sets forth the full and complete plea offer to your client Martin Kao, (hereinafter
referred to as “your client” or “defendant”), from the Office of the United States Attorney for the
District of Columbia and the Public Integrity Section of the United States Department of Justice
(hereinafter also referred to as “the Government” or “this Office”). This plea offer expires on
August 15, 2022. If your client accepts the terms and conditions of this offer, please have your
client execute this document in the space provided below. Upon receipt of the executed document,
this letter will become the Plea Agreement (hereinafter referred to as “this Agreement”). The
terms of the offer are as follows:

       1.      Charges and Statutory Penalties

        Your client agrees to plead guilty in Case No. 21-cr-61 pending in the United States Dsitrict
Court in the District of Hawaii. Your client also agrees to plead guilty to Counts 1, 2, 4 and 5 of
the Indictment 22-cr-48, pending in the United States District Court for the District of Columbia,
a copy of which is attached, charging your client with one count of conspiracy, in violation of 18
U.S.C. § 371 (Count One); one count of making conduit contribution and aiding and abetting, in
violation of 52 U.S.C. §§ 30122, 30109(d)(1)(a)(i) and 18 U.S.C. § 2 (Count Two), and two counts
of false statements, in violation of 18 U.S.C. § 1001 (Counts Four and Five). The government
agrees to seek dismissal, with respect to the defendant, of Count Three of the Indictment after
sentencing.

       Your client understands that the offenses to which your client is pleading guilty have the
following elements:



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        A . Conspiracy
                 1.    The defendant entered into an agreement w i t h at least one other person to
                       defraud the U n i t e d States and to make prohibited campaign contributions,
                 2.    The defendant k n o w i n g l y participated i n the conspiracy w i t h the intent to
                       c o m m i t the offense;
                 3.    A t least one overt act was committed in furtherance o f the conspiracy.


        B. Prohibition A g a i n s t Conduit Contributions
                 1.    The defendant made         a   contribution in the name o f another person o r permitted
                       his name to be used to effect such         a   contribution;
                 2.    That contribution aggregated at least $25,000 in one calendar year; and
                 3.    The defendant acted w i l l f u l l y .

        C. False statements
                  1.   The defendant caused another to make a statement that was false;
                 2.    The false statement concerned a matter that was w i t h i n the j u r i s d i c t i o n o f the
                       FEC;
                 3.    The false statement was material to the FEC; and
                 4.    The defendant acted k n o w i n g l y and w i l l f u l l y .


       Y o u r client understands that a violation o f 18 U.S.C. § 371 carries a m a x i m u m sentence o f
5 years o f imprisonment; a fine o f $250,000 o r twice the pecuniary gain o r loss o f the offense,
pursuant to 18 U.S.C. § 3571(b)(3); a t e r m o f supervised release o f not more than 3 years, pursuant
to 18 U.S.C. § 3583(b)(2); and an obligation to pay any applicable interest o r penalties o n fines
and restitution not t i m e l y made.


        Y o u r client further understands that a violation o f 52 U.S.C. §§ 30122, 30109 ( d ) ( 1 ) ( A ) ( i )
carries m a x i m u m sentence o f 5 years o f imprisonment;a fine o f not less than 300 percent o f the
        a
amount i n v o l v e d i n the v i o l a t i o n and not more than the greater o f $50,000 or 1,000 percent o f the
amount i n v o l v e d i n the violation, pursuant to 52 U.S.C. § 30109(d)(1)(D); a t e r m o f supervised
release o f not more than3 years, pursuant to 18 U.S.C. § 3583(b)(2); and an obligation to pay any
applicable interest o r penalties o n fines and restitution not t i m e l y made.


        Y o u client further understands that a violation o f 18 U.S.C. § 1001, carries a m a x i m u m
sentencing o f 5 years o f imprisonment; a fine o f $250,000 or twice the pecuniary gain or loss o f
the offense, pursuant to 18 U.S.C. § 3571(b)(3); a term o f supervised release o f not more than 3
years, pursuant to 18 U.S.C. § 3583(b)(2); and an obligation to pay any applicable interest o r
penalties on fines and restitution not t i m e l y made.

         I n addition, y o u r client agrees to pay a special assessment o f $100 per felony conviction to
the C l e r k o f the United States District Court for the D i s t r i c t o f Columbia. Y o u r client also
understands that, pursuant to 18 U.S.C. § 3572 and § 5E1.2 o f the United States Sentencing
C o m m i s s i o n , Guidelines M a n u a l (2018) (hereinafter ?Sentencing Guidelines,? ?Guidelines,? or
?U.S.S.G.?), the Court m a y also imposea fine that is sufficient to pay the federal government the
costs o f any imprisonment, term o f supervised release, and period o f probation.


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        2.        Factual Stipulations


           Y o u r client agrees that the attached ?Statement o f Offense? f a i r l y and accurately describes
y o u r client?s actions and i n v o l v e m e n t in the offenses to w h i c h your client is pleading guilty. Please
have your client sign and return the Statement o f Offense as a written proffer o f evidence, along
w i t h this Agreement.

        3.        A d d i t i o n a l Charges
                                                                   ?


        In consideration o f your client?s g u i l t y plea to the above offenses, y o u r client w i l l not be
further prosecuted c r i m i n a l l y by this O f f i c e for the conduct set forth i n the attached Statement o f
Offense.


        4.        Sentencing Guidelines Analysis


         Y o u r client understands that the sentence i n this case w i l l be determined by the Court,
pursuant to the factors set forth i n 18 U.S.C. § 3553(a), including a consideration o f the Sentencing
Guidelines. Pursuant to Federal Rule o f Criminal Procedure 11(c)(1)(B), and to assist the Court
i n determining the appropriate sentence, the parties agree to the f o l l o w i n g :

                 A ,        Estimated Offense Level U n d e r the Guidelines


      The parties agree that the f o l l o w i n g Sentencing Guidelines sections apply as it relates to
Counts 1, 4 and 5:


U.S.S.G. § 2C1.8(a)                                   Base Offense Level                                        8
U S . S . G . §§ 2C1.8(b)(1), 2B1.1(b)(1)(F)          Exceeded $150,000                                         +10
U S S . G . § 3B1.1 ? A g g r a v a t i n g Role                                                                +2
U.S.S.G. § 3D1.2(b)                                   Counts Group                                              +0
                                                                                           Total                20

                  Acceptance o f Responsibility


      The Government agrees that a 2-level reduction w i l l be appropriate, pursuant to U.S.S.G.
§ 3E1.1, provided that y o u r client clearly demonstrates acceptance o f responsibility, to the
satisfaction o f the Government, through your client?s allocution, adherence to every provision o f
this Agreement, and conduct between entry o f the plea and imposition o f sentence. Furthermore,
assuming y o u r client has accepted responsibility as described i n the previous sentence, the
Government agrees that an additional 1-level reduction w i l l be appropriate, pursuant to U.S.S.G.
§ 3E1.1(b), because your client has assisted authorities by p r o v i d i n g t i m e l y notice o f y o u r client?s
intention to enter a plea o f guilty, thereby permitting the Government to avoid preparing f o r t r i a l
and permitting the C o u r t to allocate its resources efficiently.


         Nothing in this Agreement l i m i t s the right o f the Government to seek denial o f the
adjustment for acceptance o f responsibility, pursuant to U.S.S.G.            §   3E1.1, and/or i m p o s i t i o n o f an


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adjustment for obstruction o f justice, pursuant to U.S.S.G. § 3C1.1, regardless o f any agreement
set forth above, should your client move to w i t h d r a w y o u r client?s guilty plea after it is entered, or
should i t be determined by the Government that your client has either (a) engaged in conduct,
u n k n o w n to the Government at the time o f the signing o f this Agreement, that constitutes
obstruction o f justice, o r (b) engaged i n additional criminal conduct after signing this Agreement.

         I n accordance w i t h the above, the Estimated Offense Level w i l l be at least 17.


                  B.        Estimated Criminal History Category


        Based upon the information now available to this Office including the your client has no
qualifying criminal convictions.

        Accordingly, your client is estimated to have 0 criminal history points and your client?s
Criminal History Category is estimated to be I (the ?Estimated Criminal History Category?). Your
client acknowledges that after the pre-sentence investigation by the United States Probation Office,
a different conclusion regarding your client?s criminal convictions and/or criminal history points
may be reached and your client?s criminal history points may increase or decrease.

                   Cc.      E s t i m a t e d G u i d e l i n e s Range


            Based upon the Estimated Offense Level and the Estimated C r i m i n a l History Category set
f o r t h above, your client?s estimated Sentencing Guidelines range is 24 months to 30 months (the
?Estimated Guidelines Range?). In addition, the parties agree that, pursuant to U.S.S.G. § 5E1.2,
should the Court impose a fine, at Guidelines level 17, the estimated applicable fine range is
$10,000 to $95,000. Y o u r client reserves the right to ask the Court not to impose any applicable
fine.


        The parties agree that, solely for the purposes o f calculating the applicable range under the
Sentencing Guidelines, neither a downward n o r upward departure f r o m the Estimated Guidelines
Range set f o r t h above is warranted. Except as provided for i n the ?Reservation o f A l l o c u t i o n ?
section below, the parties also agree that neither party w i l l seek any offense-level calculation
different f r o m the Estimated Offense Level calculated above in subsection A. However, thep a r t i e s
are free to argue f o r a C r i m i n a l History Category different f r o m that estimated above in subsection
B.


       Y o u r client understands and acknowledges that the Estimated Guidelines Range calculated
above is not b i n d i n g o n the Probation O f f i c e or the Court. Should the C o u r t o r Probation O f f i c e
determine that a guidelines range different f r o m the Estimated Guidelines Range is applicable, that
w i l l not be a basis f o r w i t h d r a w a l or recission o f this Agreement by eitherp a r t y .


         Your client understands and acknowledges that the terms of this section apply only to
conduct that occurred before the execution of this Agreement. Should your client commit any
conduct after the execution of this Agreement that would form the basis for an increase in your
client?s base offense level or justify an upward departure (examples o f which include, but are not
limited to, obstruction o f justice, failure to appear for a court proceeding, criminal conduct while


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pending sentencing, and false statements to law enforcement agents, the probation officer, o r the
Court), the Government is free under this Agreement to seek an increase in the base offense level
based on that post-agreement conduct.


        S.       A g r e e m e n t as t o S e n t e n c i n g A l l o c u t i o n


        The parties further agree that a sentence within the Estimated Guidelines Range would
constitute a reasonable sentence in light of all o f the factors set forth in 18 U.S.C. § 3553(a), should
such a sentence be subject to appellate review notwithstanding the appeal waiver provided below.
Nevertheless, your client reserves the right to seek a sentence below the Estimated Guidelines
Range based upon factors to be considered in imposing a sentence pursuant to 18 U.S.C. § 3553(a).

       The Government agrees not to object i f any sentence o f incarceration imposed in Case N o .
22-cr-48 pending i n the D i s t r i c t o f Columbia is to be served concurrently w i t h any sentencing
imposed on Case No. 21-cr-61 pending i n the Distrist o f Hawaii.

        6.        Reservation of Allocution


               The Government and y o u r client reserve the right to describe f u l l y , both o r a l l y and i n
w r i t i n g , to the sentencing judge, the nature and seriousness o f your client?s misconduct, i n c l u d i n g
any misconduct not described in the charges to which your client is pleading g u i l t y , to i n f o r m the
presentence report w r i t e r and the Court o f any relevant facts, to dispute any factual inaccuracies
i n the presentence report, and to contest any matters not provided f o r i n this Agreement. The parties
also reserve the right to address the correctness o f any Sentencing Guidelines calculations
determined by the presentence report w r i t e r or the court, even i f those calculations differ f r o m the
Estimated Guidelines Range calculated herein. In the event that the Court o r the presentence
report w r i t e r considers any Sentencing Guidelines adjustments, departures, or calculations
different f r o m those agreed to and/or estimated i n this Agreement, o r contemplates a sentence
outside the Guidelines range based upon the general sentencing factors listed i n 18 U.S.C. §
3553(a), the parties reserve the right to answer any related inquiries f r o m the Court o r the
presentence report w r i t e r and to allocute for a sentence w i t h i n the Guidelines range, as ultimately
determined by the Court, even i f the Guidelines range ultimately determined b y the C o u r t is
different f r o m the Estimated Guidelines Range calculated herein.


         In addition, i f i n this Agreement the parties have agreed to recommend or r e f r a i n f r o m
recommending to the C o u r t a particular resolution o f any sentencing issue, the parties reserve the
right to full allocution i n any post-sentence litigation. The parties retain the full right o f allocution
i n connection w i t h any post-sentence m o t i o n w h i c h may be filed in this matter and/or any
proceeding(s) before the Bureau o f Prisons. In addition, your client acknowledges that the
Government is not obligated and does not intend to file any post-sentence d o w n w a r d departure
m o t i o n i n this case pursuant to Rule 35(b) o f the Federal Rules o f C r i m i n a l Procedure.

       7.        C o u r t N o t B o u n d by this A g r e e m e n t or the Sentencing G u i d e l i n e s


       Y o u r client understands that the sentence in this case w i l l be imposed in accordance w i t h
18 U.S.C. § 3553(a), upon consideration o f the Sentencing Guidelines. Y o u r client further



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understands that the sentence to be imposed is a matter solely w i t h i n the discretion o f the Court.
Y o u r client acknowledges that the Court is not obligated to f o l l o w any recommendation o f the
Government at the t i m e o f sentencing. Y o u r client understands that neither the Government?s
recommendation n o r the Sentencing Guidelines are binding on the Court.


        Your client acknowledges that your client?s entry o f a guilty plea to the charged offense(s)
authorizes the Court to impose any sentence, up to and including the statutory maximum sentence,
which may be greater than the applicable Guidelines range. The Government cannot, and does
not, make any promise or representation as to what sentence your client will receive. Moreover,
it is understood that your client w i l l have no right to withdraw your client?s plea o f guilty should
the Court impose a sentence that is outside the Guidelines range or i f the Court does not follow the
Government?s sentencing recommendation. The Government and your client w i l l be bound by
this Agreement, regardless of the sentence imposed by the Court. Any effort by your client to
withdraw the guilty plea because o f the length o f the sentence shall constitute a breach of this
Agreement.

       8.        C o n d i t i o n s o f Release


           Y o u r client acknowledges that, although the Government w i l l not seek a change in y o u r
client?s release conditions pending sentencing, the final decision regarding y o u r client?s bond
status o r detention w i l l be made by the Court at the time o f y o u r client?s plea o f guilty. The
Government may m o v e to change your client?s conditions o f release, including requesting that
y o u r client be detained pending sentencing, i f your client engages i n further criminal conduct p r i o r
to sentencing o r i f the Government obtains information that it did not possess at the t i m e o f y o u r
client?s plea o f g u i l t y and that is relevant to whether your client is l i k e l y to flee o r pose a danger
to any person or the community. Y o u r client also agrees that any violation o f y o u r client?s release
conditions o r any misconduct b y your client m a y result in the Government f i l i n g an ex parte m o t i o n
w i t h the C o u r t requesting that a bench warrant be issued for your client?s arrest and that your client
be detained w i t h o u t b o n d while pending sentencing i n y o u r client?s case.

       9.        Waivers


                a.         Venue

        Y o u r client waives any challenge to venue in the District o f Columbia.


                b.         Statute o f L i m i t a t i o n s

       Y o u r client agrees that, should the conviction f o l l o w i n g your client?s plea o f g u i l t y
pursuant to this Agreement be vacated f o r any reason, any prosecution, based on the conduct set
f o r t h i n the attached Statement o f Offense, that is not time-barred by the applicable statute o f
l i m i t a t i o n s on the date o f the signing o f this Agreement (including any counts that the Government
has agreed not to prosecute or to dismiss at sentencing pursuant to this Agreement)may be
commenced o r reinstated against y o u r client, notwithstanding the expiration o f the statute o f
l i m i t a t i o n s between the signing o f this Agreement and the commencement o r reinstatement o f such
prosecution. I t is the intent o f this Agreement to waive a l l defenses based o n the statute o f


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limitations with respect to any prosecution of conduct set forth in the attached Statement o f Offense
that is not time-barred on the date that this Agreement is signed.

                 c.       T r i a l Rights


         Your client understands that by pleading guilty in this case your client agrees to waive
certain rights afforded by the Constitution of the United States and/or by statute or rule. Your
client agrees to forego the right to any further discovery or disclosures o f information not already
provided at the time o f the entry o f your client?s guilty plea. Your client also agrees to waive,
among other rights, the right to be indicted by a Grand Jury, the right to plead not guilty, and the
right to a jury trial. I f there were a jury trial, your client would have the right to be represented by
counsel, to confront and cross-examine witnesses against your client, to challenge the admissibility
o f evidence offered against your client, to compel witnesses to appear for the purpose o f testifying
and presenting other evidence on your client?s behalf, and to choose whether to testify. I f there
were a jury trial and your client chose not to testify at that trial, your client would have the right to
have the jury instructed that your client?s failure to testify could not be held against your client.
Your client would further have the right to have the jury instructed that your client is presumed
innocent until proven guilty, and that the burden would be on the United States to prove your
client?s guilt beyond a reasonable doubt. I f your client were found guilty after a trial, your client
would have the right to appeal your client?s conviction. Your client understands that the Fifth
Amendment to the Constitution o f the United States protects your client from the use o f self-
incriminating statements in a criminal prosecution. By entering a plea of guilty, your client
knowingly and voluntarily waives or gives up your client?s right against self-incrimination.

         Y o u r client acknowledges discussing w i t h you Rule 11(f) o f the Federal Rules o f C r i m i n a l
Procedure and Rule 4 1 0 o f the Federal Rules o f Evidence, w h i c h ordinarily l i m i t the admissibility
o f statements made by a defendant i n the course o f plea discussions o r plea proceedings i f a g u i l t y
plea is later withdrawn. Y o u r client k n o w i n g l y and voluntarily waives the rights that arise under
these rules i n the event y o u r client withdraws your client?s g u i l t y plea o r withdraws f r o m this
Agreement after signing it.


        Y o u r client also agrees to waive all constitutional and statutory rights to a speedy sentence
and agrees that the plea o f g u i l t y pursuant to this Agreement w i l l be entered at a time decided u p o n
b y the parties w i t h the concurrence o f the Court. Y o u r client understands that the date f o r
sentencing w i l l be set b y the Court.

                 d.       Appeal Rights


         Y o u r client agrees to waive, insofar as such w a i v e r is permitted by law, the right t o appeal
the conviction i n this case on any basis, including but not limited to claim(s) that (1) the statute(s)
to w h i c h your client is pleading g u i l t y is unconstitutional, and (2) the admitted conduct does not
fall w i t h i n the scope o f the statute(s). Y o u r client understands that federal law, specifically 18
U.S.C.   §   3742, affords defendants the right to appeal their sentences in certain circumstances.
Y o u r client also agrees to waive the right to appeal the sentence in this case, i n c l u d i n g but not
l i m i t e d to any term o f imprisonment, fine, forfeiture, award o f restitution, term o r c o n d i t i o n o f
supervised release, authority o f the Court to set conditions o f release, and the manner i n w h i c h the


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sentence was determined, except to the extent the Court sentences your client abovet h es t a t u t o r y
m a x i m u m o r guidelines range determined by the Court. In agreeing to this w a i v e r , y o u r c l i e n t is
aware that y o u r client?s sentence has yet to be determined by the Court. Realizing the uncertainty
i n estimating what sentence the Court ultimately w i l l impose, your client k n o w i n g l y and w i l l i n g l y
waives your client?s right to appeal the sentence, to the extent noted above, in exchange f o r the
concessions made b y the Government in this Agreement. Notwithstanding the above agreement
to w a i v e the right to appeal the conviction and sentence, your client retains the right to appeal o n
the basis o f ineffective assistance o f counsel, but not to raise o n appeal other issues regarding the
conviction o r sentence.


                  e.          Collateral Attack


            Y o u r client also waives any right to challenge the conviction entered or sentence imposed
under this Agreement or otherwise attempt to m o d i f y or change the sentence o r the manner i n
w h i c h i t was determined i n any collateral attack, including, but not l i m i t e d to, a m o t i o n brought
under 28 U.S.C. § 2255 o r Federal Rule o f C i v i l Procedure 60(b), except to the extent such a
m o t i o n is based on newly discovered evidence or o n a claim that y o u r client received ineffective
assistance o f counsel. Y o u r client reserves the right to file a m o t i o n brought under 18 U.S.C.
§   3582(c)(2), but agrees to w a i v e the right to appeal the denial o f such a motion.

          10.      Use o f S e l f - I n c r i m i n a t i n g I n f o r m a t i o n


         The Government and your client agree, i n accordance w i t h U.S.S.G. § 1B1.8, that the
Government w i l l be free to use against your client for any purpose at the sentencing i n this case or
i n any related criminal or c i v i l proceedings, any self-incriminating i n f o r m a t i o n p r o v i d e d by your
client pursuant to this Agreement o r during the course o f debriefings conducted i n anticipation o f
this Agreement, regardless o f whether those debriefings were previously covered by an ? o f f the
record? agreement by the parties.

          11.      Restitution


      Y o u r client understands that the Court has an obligation to determine whether, and i n what
amount, mandatory restitution applies i n this case under 18 U.S.C. § 3 6 6 3 A at the t i m e o f
sentencing.

          12.      Breach o f Agreement


          Y o u r client understands and agrees that, i f after entering this Agreement, y o u r client fails
specifically to p e r f o r m or to f u l f i l l completely each and every one o f y o u r client?s obligations
under this Agreement, o r engages i n any criminal activity prior to sentencing, y o u r client w i l l have
breached this Agreement. In the event o f such a breach: (a) the Government w i l l be free f r o m its
obligations under this Agreement; (b) your client w i l l not have the right to w i t h d r a w the g u i l t y
plea; (c) y o u r client w i l l be f u l l y subject to criminal prosecution for any other crimes, i n c l u d i n g
perjury and obstruction o f justice; and (d) the Government w i l l be free to use against y o u r client,
directly and indirectly, in any criminal or c i v i l proceeding, all statements made b y your c l i e n t and
any o f the information o r materials provided by y o u r client, i n c l u d i n g such statements, i n f o r m a t i o n



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and materials provided pursuant to this Agreement or during the course o f any debriefings
conducted in anticipation of, or after entry of, this Agreement, whether or not the debriefings were
previously characterized as ?off-the-record? debriefings, and including your client?s statements
made during proceedings before the Court pursuant to Rule 11 o f the Federal Rules o f Criminal
Procedure.

             Y o u r client understands and agrees that the Government shall be required to prove a breach
o f this Agreement o n l y by a preponderance o f the evidence, except where such breach is based o n
a v i o l a t i o n o f federal, state, or local criminal law, which the Government need prove o n l y b y
probable cause in order to establish a breach o f this Agreement.


          Nothing in this Agreement shall be construed to permit your client to commit perjury, to
make false statements or declarations, to obstruct justice, or to protect your client from prosecution
for any crimes not included within this Agreement or committed by your client after the execution
of this Agreement. Your client understands and agrees that the Government reserves the right to
prosecute your client for any such offenses. Your client further understands that any perjury, false
statements or declarations, or obstruction o f justice relating to your client?s obligations under this
Agreement shall constitute a breach o f this Agreement. In the event of such a breach, your client
w i l l not be allowed to withdraw your client?s guilty plea.

          13.      Complete Agreement


         N o agreements, promises, understandings, or representations have been made b y the parties
 or their counsel other than those contained in w r i t i n g herein, n o r w i l l any such agreements,
 promises, understandings, o r representations be made unless committed to w r i t i n g and signed by
y o u r client, defense counsel, and an Assistant United States Attorney for the D i s t r i c t o f Columbia.

          Y o u r client further understands that this Agreement is binding only upon the C r i m i n a l and
Superior C o u r t D i v i s i o n s o f the U n i t e d States Attorney?s O f f i c e for the District o f C o l u m b i a and
the Public Integrity Section. This Agreement does not bind the C i v i l D i v i s i o n o f this O f f i c e o r
any other United States Attorney?s Office, n o r does it b i n d any other state, local, or federal
prosecutor. I t also does not bar o r compromise any c i v i l , tax, or administrative claim pending o r
that m a y be made against y o u r client.


        I f the foregoing terms and conditions are satisfactory, y o u r client m a y so indicate b y
signing     this
                 Agreement and the Statement o f Offense, and returning both to me n o later than
Augus           022.

                                                                    Sincerely yours,
                 IS



                                                                    M A T T H E W M. G R A V E S
                                                                    United States A t t o r n e y




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                          By:      //El
                                   Elizabeth A l o i
                                   Joshua Rothstein
                                    Assistant United States A t t o r n e y s

                                    COREY R. A M U N D S O N
                                    Chief, Public Integrity Section
                                    U.S, Department o f Justice

                                    Lauren Castaldi
                                   T r i a l Attorney, P u b l i c I n t e g r i t y Section
                                   U.S. Department o f Justice




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                                         DEFENDANT?S ACCEPTANCE

         I have read every page o f this Agreement and have discussed it with my attorney, Shelli
 Peterson. I fully understand this Agreement and agree to it without reservation. I do this
 voluntarily and o f my own free will, intending to be legally bound. No threats have been made to
 me nor am I under the influence o f anything that could impede my ability to understand this
 Agreement fully. I am pleading guilty because I am in fact guilty o f the offense(s) identified in
 this Agreement.

       I r e a f f i r m that absolutely no promises, agreements, understandings, o r conditions have
 been made o r entered into i n connection w i t h m y decision to plead g u i l t y except those set forth i n
 this Agreement. I am satisfied w i t h the legal services provided by m y attomey i n connection w i t h
 this A g r e e m e n t and matters related to it.




paA n a r a t /                  fp   20% Z              i        g
                                                artin Kao
                                              Defendant




                                      ATTORNEY?S A C K N O W L E D G M E N T


           I have read every page o f this Agreement, reviewed this Agreement w i t h m y client, M a r t i n
 K a o , and f u l l y discussed the provisions o f this Agreement w i t h m y client. These pages accurately
 and completely set f o r t h the entire Agreement. I concur in m y client?s desire to plead g u i l t y as set
 f o r t h i n this Agreement.




 Date:     8/15/2022
                                              Shelli Peterson
                                              A t t o r n e y for Defendant




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